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                                                     April 24, 2019

 VIA UPS
 The Honorable Mark A. Goldsmith
 United States District Court, Eastern District of Michigan
 Theodore Levin U.S. Courthouse
 231 W. Lafayette Blvd., Room 815
 Detroit, MI 48226

 Re:        Commodity Futures Trading Commission v. Alan James Watson, et al.
            Case No: 11-cv-10949-MAG-MKM

 Dear Judge Goldsmith:

        I submit the following as my eighth and final report1 as Temporary Receiver
 for the assets of Defendants Cash Flow Financial LLC (“CFF”), Alan James Watson
 (“Watson”) and Michael S. Potts (“Potts”) (collectively, “the Defendants”) and
 certain assets of Relief Defendant, The Jedburgh Group (“Jedburgh Group” or
 “Jedburgh”).

 1
  This will supplement my previous seven reports dated May 10, 2011 (ECF No. 32);
 September 5, 2012 (ECF No. 69); August 28, 2014 (ECF No. 110); January 20, 2015
 (ECF No. 128); May 30, 2017 (ECF No. 180); April 19, 2018 (ECF No. 189); and
 September 12, 2018 (ECF No. 203).

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                             WINDING UP SUMMARY

       The background of this case, detailed in my Motion and Memorandum for
 Second Distribution of Receivership Assets (“Second Distribution Motion”) dated
 June 14, 2018 (ECF No. 195), is well known to this Court and, in the interests of
 economy and brevity, will not be repeated here. This report will address events
 which have occurred in the Receivership since my seventh report to the Court dated
 September 12, 2018 (ECF No. 203).
                       CESSATION OF COLLECTION EFFORTS
       Collection efforts have been suspended on the two outstanding recovery
 matters listed below for the reasons stated:

        A.    Jedburgh Group Disgorgement Obligation. The Consent Order and
 Final Judgment entered against Jedburgh Group on August 15, 2012 (ECF No. 67),
 ordering Jedburgh Group to pay a principal disgorgement obligation of $21,568.15
 to the Receiver, plus post-judgment interest, remains unsatisfied. Discovery in aid
 of execution conducted in the related case of Stenger v. Freeman, et al., Case No.14-
 cv-10999-MAG-RSW (E.D. Mich.) (“Freeman”), discussed below, has failed to
 reveal any Jedburgh Group assets.

        B.    Stenger v. Freeman. On the $1.5 million Amended Judgment entered
 against Keith Freeman on December 1, 2015, $1.495 million remains unsatisfied,
 following recovery of $4,637.79 in garnishment proceeds from Freeman’s Bank of
 America account. Although the Amended Judgment (which has been registered in
 the Northern, Middle and Southern Districts of Florida) technically remains
 enforceable until December 1, 2025, there are no known practical prospects for
 further recovery. I have concluded that it is not in the Receivership’s best interest
 to pursue further collection efforts on the Amended Judgment in Freeman, because
 discovery in aid of execution has confirmed that Jedburgh Group, long defunct, has
 no assets, and Freeman, who has spent almost all of the $150,000 life insurance
 benefits he received following the death of his wife last year, currently has no other
 known recoverable assets and is earning little to nothing from his business as a
 private investigator.
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                                FINAL ACCOUNTING

       For the Court’s convenience, a copy of the Final Accounting prepared by the
 Estate’s retained accountants, Plante Moran, is attached as Exhibit A-1 and
 incorporated herein by reference. The Final Accounting statement is through
 February 28, 2019.

        As reflected on Exhibit A-1, from March 11, 2011, the date of appointment of
 the Receiver, through February 28, 2019, the Receiver has marshalled a total of
 $9,119,820.17, inclusive, in pertinent part, of the following: (1) $3,277,320.09 from
 Cash Flow Financial, Alan Watson and Jedburgh Group; (2) $3,788,304.89 in
 restitution receipts, including, since my last report dated September 12, 2018,
 $345.71 from Jason Michael Meyer, and $4,637.79 in garnishment proceeds from
 Keith Freeman’s Bank of America account); (3) $39,763.81 in interest earned
 through February 28, 2019; and (4) $2,009,903.66 from the Trade LLC receivership.

        Cash disbursements from the estate from March 25, 2011 through February
 28, 2019 totaled $9,011,799.45, inclusive, in pertinent part, of the following (1)
 $7,269,838.36 distributed to investors through February 28, 2019, as detailed below;
 (2) $18,025.67 in bank service and check charges; (3) $1,599,455.35 in professional
 fees and expenses (per Court Orders), inclusive, in pertinent part, of $1,289,999.29
 for the services of Stenger & Stenger.

       After the total expenses of $9,011,799.45 through February 28, 2019, the net
 assets of the estate total $108,020.72.

                     DISTRIBUTIONS OF RECEIVERSHIP ASSETS

       As detailed below and reflected on the Final Accounting (Ex. A-1),
 Receivership estate assets totaling $7,269,838.36 (through February 28, 2019) have
 been distributed to 766 Approved Investor Claimants in the ratio of their Adjusted
 Net Investor Claim (“ANIC”), representing a return of 22.775% of their combined
 ANICs totaling $31,920,006.64.
       A. FIRST DISTRIBUTION:
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        On December 7, 2015, my first distribution motion (“Distribution Motion”)
 (ECF No. 160) and supporting Distribution Memorandum (ECF No. 161) were
 filed with the Court, recommending distribution of a first interim Distribution Fund
 of $6,500,000 to Approved Investor Claimants in the ratio of their Adjusted Net
 Investor Claim (“ANIC”), representing a return of approximately 20.3% of each
 Approved Investor Claimant’s ANIC. This Court’s Order Ratifying Approved
 Investor Claimants List and Authorizing Distribution of Receiver Assets
 (“Distribution Approval Order”) (ECF No. 166) was entered on January 4, 2016.

        Distribution checks totaling $6,500,000 were mailed on February 3, 2016, to
 the Approved Investor Claimants by U.S. First Class Mail to their last known
 addresses. A total of 768 checks totaling $6,478,164.35 were timely cashed
 (inclusive of two checks reissued pursuant to Small Estate Affidavits), and eight (8)
 checks, totaling $21,835.65, were uncashed.2

       B. SECOND DISTRIBUTION:

        On June 14, 2018, my second distribution motion and memorandum (“Second
 Distribution Motion”) (ECF No.195) was filed with the Court, recommending
 distribution of a Second [and likely final] Distribution Fund of $800,000.00 to
 Reconciled Approved Investor Claimants in the ratio of their Adjusted Net Investor
 Claim (“ANIC”), representing a return of approximately 2.5% of each Approved
 Investor Claimant’s ANIC. A copy of the Second Distribution Motion (without
 exhibits) is attached as Exhibit A-2 and incorporated herein by reference.

      On June 21, 2018, Your Honor’s Order Ratifying Approved Investor
 Claimants List and Authorizing Second Distribution of Receiver Assets (“Second

 2
   Pursuant to the Distribution Approval Order, checks which were returned or had
 not been cashed by June 8, 2016 were void, the right to receive such payments
 terminated, and the funds ($21,835.65) otherwise distributable to the Approved
 Investor Claimants were returned to the Distribution Fund, to be disposed of
 according to the Court’s further instructions.
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 Distribution Approval Order”) (ECF No. 196) was entered, a copy of which is
 attached as Exhibit A-2 and incorporated herein by reference.

        On August 31, 2018, 769 second distribution checks totaling $800,000.00
 were mailed to the Approved Investor Claimants by U.S. First Class Mail to their
 last known addresses. Positive Pay security procedures were, as ordered by the
 Court, implemented to ensure proper negotiation of each distribution check.
 Through February 28, 2019, 739 checks had cleared Positive Pay, totaling
 $786,596.05, and 30 checks remained uncashed, totaling $13,403.98.3

        Pursuant to the Second Distribution Approval Order (Ex. A-2, ECF No. 196,
 PageID.3729), second distribution checks which are returned or which have not been
 cashed within one hundred and twenty (120) calendar days from the date of mailing
 of such checks shall be void, the right to receive such payments shall terminate,
 subject only to the Receiver’s sole discretion, and the amounts otherwise
 distributable to such Approved Claimants shall be returned to the Second
 Distribution Fund and disposed of according to the Court’s further instructions.

       The Second Distribution Approval Order further directed the Receiver, in his
 mailing of the second distribution checks, to warn the Approved Claimants of this
 potential loss of rights and the need to promptly cash their checks, by means of an
 Investor Second Distribution Letter (a copy of which is attached as Exhibit A-4
 and incorporated herein by reference), which the Court approved as to form. The
 Receiver complied with that directive on August 31, 2018, when copies of the
 Investor Second Distribution Letters were sent to Approved Claimants by U.S. First
 Class mail, along with their second distribution checks.
       Because of the joint ownership of some claims, the Second Distribution
 Approval Order (Ex. A-2, ECF No. 196, Page ID.3729-3730) also directed the
 3
   All reasonable efforts have been conducted to find current addresses for uncashed
 investors, including, but not limited to, conducting Accurint-TLO searches on all
 distribution packages returned as undeliverable or remaining uncashed, attempting
 to reach investors with no identifiable new addresses by email, and reissuing checks
 to newly identified addresses.
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 Receiver, prior to mailing the second distribution checks, to mail to each Co-Investor
 Claimant a Letter to Co-Investor Claimant which the Court approved as to form
 (a copy of which is attached as Exhibit A-5, and incorporated herein by reference),
 advising Co-Investor Claimants as to which address the checks will be mailed, and,
 further directed that a copy of the Investor Second Distribution Letter which was to
 be mailed with the distribution checks (attached Ex. A-3) was also to be mailed to
 each Co-Investor Claimant so that each will be informed as to when the checks are
 mailed. In processing the Second Distribution, the Receiver complied with both of
 those directives.

       The Second Distribution Approval Order (Ex. A-2, ECF No. 196, Page
 ID.3730-3731) also directed the Receiver to follow a Small Estate Affidavit
 procedure upon notification by representatives and/or family members of deceased
 claimants that they were unable to cash or negotiate checks made payable to a
 deceased claimant, or a deceased claimant’s estate. No such notifications were
 received with respect to the second distribution checks.

       As of February 28, 2019, a total of 30 Approved Investor Claimants failed to
 timely cash their second distribution checks, totaling $13,403.98. Those uncashed
 checks are permanently null and void. A list of Approved Investor Claimants with
 uncashed checks, including the amounts of their uncashed checks, is attached as
 Exhibit A-6 and incorporated herein by reference.

        While it is possible that the Receiver may recover further restitution payments
 pursuant to restitution orders entered against various defendants in related criminal
 actions (i.e., USA v. Diane Aurelia Bishop, and USA v. Jason Michael Meyer), most
 restitution payments received to date are relatively small in amount, and it is very
 unlikely that any restitution checks that may come through hereafter would be of
 sufficient size to justify any further distributions to investors. If, however,
 outstanding restitution orders generate sizeable restitution payments to the Receiver
 before the Receivership estate is closed, we would consider moving for a further
 distribution before closing the Receivership estate.
                     QUALIFIED SETTLEMENT FUND TAX RETURNS
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     No taxes are due and owing from the CFTC v Cash Flow Financial et al
 Combined Settlement Fund (the “QSF”).

       There are currently four (4) open Form 1120-SF qualified settlement fund tax
 returns (“QSF returns”) for calendar years ending December 31, 2015, December
 31, 2016, December 31, 2017, and December 31, 2018.

         The QSF return for calendar year 2015 was filed with the IRS on March 16,
 2016, along with a request for prompt assessment, and a copy of the Receiver’s filing
 letter to the IRS dated March 16, 2016 is attached as Exhibit A-7 and incorporated
 herein by reference. The QSF return for calendar year 2016 was filed with the IRS
 on March 7, 2017, along with a request for prompt assessment, and a copy of the
 Receiver’s filing letter to the IRS dated March 7, 2017 is attached as Exhibit A-8
 and incorporated herein by reference. The QSF return for calendar year 2017 was
 filed with the IRS on February 14, 2018, along with a request for prompt assessment,
 and a copy of the Receiver’s filing letter to the IRS dated February 14, 2018 is
 attached as Exhibit A-9 and incorporated herein by reference. The QSF return for
 calendar year 2018 was filed with the IRS on March 11, 2019, along with a request
 for prompt assessment, and a copy of the Receiver’s filing letter to the IRS dated
 March 11, 2019, is attached as Exhibit A-10 and incorporated herein by reference.

       The IRS has advised that heavy workloads are delaying their response to
 outstanding prompt assessment requests. The statute of limitations applicable to QSF
 returns is three (3) years. Accordingly, the limitations periods on the estate’s
 outstanding QSF returns for calendar years 2015, 2016, 2017 and 2018 (collectively,
 the “Open QSF Returns”) will expire on March 16, 2019; March 30, 2020;
 February 14, 2021; and March 11, 2022, respectively.

        In his contemporaneously filed Receiver’s Motion and Memorandum for
 Entry of an Order Approving the Receiver’s Final Report, Final Accounting and
 Compensation Request and Closing the Estate (“Closing Motion”), the Receiver
 seeks the following: (1) this Court’s approval and authority, pending IRS clearance
 of the Open QSF Returns, to hold back a Reserve Fund of approximately
 $69,675.91, comprised of the residual estate assets after payment of the Receiver’s
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 final Compensation Motion No. 24, discussed below, to be held in trust in the CFF
 Operating Account as a reserve pending IRS clearance of the Open QSF Returns;
 (2) this Court’s approval and authority to file a petition to reopen the estate and seek
 further compensation out of the Reserve Fund if obtaining IRS tax clearance
 becomes more complicated than the Receiver anticipates, or other issues arise; (3)
 this Court’s approval and authority to disgorge to the Commission for turnover to
 the United States Treasury, without necessity of further court orders, the balance of
 the Reserve Fund remaining after IRS clearance, and any final expenses that may be
 incurred in obtaining said clearance, in closing down the estate, and responding to
 other issues, if any, that may arise; and (4) this Court’s approval and authority, after
 entry of the Closing Order, to make any additional filings with the IRS, state or local
 authorities which are necessary or incident to the closing of the Receivership estate.

                           COMPENSATION MOTION NO. 24

       Pursuant to the terms of the Statutory Restraining Order appointing the
 Receiver (ECF No. 5, Paragraph G on Page 12), the Receiver and his Retained
 Personnel are entitled, subject to approval of the Court, to be reimbursed for
 expenses incurred and reasonable compensation in amounts commensurate with the
 services performed pursuant to the Statutory Restraining Order, to be paid from the
 Receivership estate assets.

        A copy of the Receiver’s Compensation and Expenses Motion No. 24
 (“Compensation Motion No. 24”), which is being filed concurrent with this Final
 Report and the Closing Motion, is attached as Exhibit A-11 and incorporated herein
 by reference. Compensation Motion No. 24 seeks approval of the following fees
 and expenses incurred by the Receiver and his Retained Personnel for the time period
 of October 1, 2018 through February 28, 2019, totaling $38,344.81 in the aggregate,
 which fees and expenses are reasonable and commensurate with the services
 performed: Stenger & Stenger’s fees of $22,382.40 and expenses of $15,962.38
 (117.30 hrs). Those expenses include retained counsel Holland & Knight’s fees and
 expenses of $4,013.96 and $6,150.82, incurred during September 2018 and October
 2018, respectively, and retained accountants Plante Moran’s professional fees
 totaling $2,906.00 for tax reporting services performed for the period of January 10,
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 2019 through February 28, 2019. Detailed billing statements of the Receiver and his
 Retained Personnel are attached as Exhibits A, B and C, respectively, to
 Compensation Motion No. 24. Copies of this Final Report, Compensation Motion
 No. 24 and the supporting billing statements have previously been provided to the
 Commission.

       I am requesting that the Court unfreeze and authorize consolidation of the
 Receivership Estate’s bank accounts at Fifth Third Bank and authorize transfer of
 the current balances in the CFF Distribution Account (Account No. xxxx2638) and
 CFF Savings Account (Account No. xxxx2620) into the CFF Operating Account
 (Account No. xxxx2612).

       I am requesting that the Court approve Compensation Motion No. 24 and
 authorize payment of the aggregate sum of $38,344.81 from the CFF Operating
 Account (Account No. xxxx2612) at Fifth Third Bank.

                           CLOSING THE ESTATE

       I respectfully request that the Court enter the proposed Order Approving the
 Receiver’s Final Report, Final Accounting and Compensation Request and Closing
 the Estate (“Proposed Closing Order”), a copy of which is attached as Exhibit A-
 12 and incorporated herein by reference.


                                        ***



       I hope this Final Report has been informative. I would be happy to discuss
 any aspect of this Report with the Court, the Commission or counsel for the parties.

                                  Very truly yours,
                              STENGER & STENGER, P.C.
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  STENGER & STENGER

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                                   Phillip S. Stenger
                                  Temporary Receiver

  C:    Daniel J. Grimm, Peter A. Caplan, Harry H. Wise, III, Sonya N. Goff,
        and Erika L. Butler.

  Attachments (12):

        A-1. Final Accounting;
        A-2. Second Distribution Motion (without exhibits);
        A-3. Second Distribution Approval Order;
        A-4. Investor Second Distribution Letter;
        A-5. Letter to Co-Investor Claimant;
        A-6. List of Approved Claimants with Uncashed Checks;
        A-7. Letter to IRS Filing 2015 QSF Return dated March 16, 2016;
        A-8. Letter to IRS Filing 2016 QSF Return dated March 7, 2017;
        A-9. Letter to IRS Filing 2017 QSF Return dated February 14, 2018;
        A-10. Letter to IRS Filing 2018 QSF Return dated March 11, 2019;
        A-11. Compensation Motion No. 24
              Ex. A:       Stenger & Stenger’s Invoices
              Ex. B:       Holland & Knight’s Invoices
              Ex. C:       Plante Moran’s Invoices
              Ex. D:       Affidavit of Phillip S. Stenger
        A-12. Proposed Closing Order.
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                                    CERTIFICATE OF SERVICE

        Kay Griffith Hammond, an attorney, hereby certifies that she caused a
  copy of the foregoing Receiver’s Eighth and Final Report to the Court and
  Exhibits thereto, to be served via electronic filing on the following ECF parties
  on April 24, 2019:

        Daniel J. Grimm
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        Division of Enforcement
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  DATED: April 24, 2019.                       /s/ Kay Griffith Hammond_____________
                                                   Kay Griffith Hammond (P37425)
